      Case 1:23-mi-99999-UNA Document  2282-10 Filed 07/19/23 Page 1 of 2e-Filed 4/24/2023 3:13 PM
                                 2023CV00526




                                                                                                           Tiki Brown
                                                                                                  Clerk of State Court
                     IN THE STATE COURT OF CLAYTON COUNTY                                    Clayton County, Georgia
                                                                                                      Hannah Lowery
                                STATE OF GEORGIA

 RONALD WRIGHT,

                Plaintiff,                            CIVIL ACTION FILE NO:
 v.                                                   2023CV00526

 EUSEBIO SANCHEZ               and    COBRA
 CARRIER, LLC,

                Defendants.


         DEFENDANTS EUSEBIO SANCHEZ AND COBRA CARRIER, LLC’S
                   ACKNOWLEDGEMENT OF SERVICE



       I, Vera Starks, am the attorney for Defendants Eusebio Sanchez and Cobra Carrier, LLC

and am authorized to accept service of process on behalf of Eusebio Sanchez and Cobra Carrier,

LLC in the above-styled action. I hereby acknowledge personal service of the Summons,

Complaint, Plaintiff’s First Interrogatories, Plaintiff’s First Request for Production of Documents,

and Plaintiff’s Request for Admissions on behalf of Eusebio Sanchez and Cobra Carrier, LLC this

24th day of April 2023. No further or other service of process is required or necessary with regard

to Eusebio Sanchez and Cobra Carrier, LLC.



       This 24th day of April 2023.


                                              /s/Vera Starks
                                              Vera Starks, Ga Bar No.
                                              with express permission
                                              Counsel for Defendants
      Case 1:23-mi-99999-UNA Document  2282-10 Filed 07/19/23 Page 2 of 2
                                 2023CV00526




                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 24, 2023 a copy of the Defendants Eusebio Sanchez and

Cobra Carrier, LLC’s Acknowledgement of Service was served upon all parties by depositing a

copy of same in the United States Mail in a properly addressed envelope with adequate postage

thereon to ensure delivery to:

                                          Vera Starks
                                  Fain, Major, & Brennan, P.C.
                                        One Premier Plaza
                                   5605 Glenridge Drive, NE
                                            Suite 900
                                       Atlanta, GA 30342


                                                          Respectfully submitted,


                                                          /s/Edward J. Hardrick_________
                                                          Edward J. Hardrick
                                                          Georgia Bar No. 606792
                                                          Attorney for Plaintiff


178 S. Main Street, Unit 300
Alpharetta, GA 30009
Telephone: (770)576-7634
ehardrick@forthepeople.com
